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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

OSCAR ORONA IANF of N.O., a minor,                §
et al.,                                           §
                                                  §
               Plaintiffs,                        §
                                                  §
v.                                                §       Civil Action No. 2:24-CV-00049-AM
                                                  §
CHRISTOPHER KINDELL, et al .,                     §
                                                  §
               Defendants .                       §

            TEXAD DEPARTMENT OF PUBLIC SAFETY DEFENDANTS’
                UNOPPOSED MOTION FOR EXTENSION OF TIME
           TO RESPOND TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Defendants Richard Bogdanski, Joel Betancourt, Christopher Kindell, Crimson Elizondo,

Victor Escalon, and Juan Maldonado, current and former employees of the Texas Department of

Public Safety (“DPS Defendants”), file this motion for extension of time to file an omnibus responsive

pleading to Plaintiffs’ Amended Complaint [DE 4]. In support, Defendants offer the following:

I.     STATEMENT OF THE CASE

       Plaintiffs originally filed this lawsuit in the Western District of Texas, Del Rio Division, on

May 23, 2024. ECF No. 1. Plaintiffs filed their first amended complaint on May 24, 2024. ECF No. 4.

On May 24, 2023, Plaintiffs requested issuance of summons to Defendants. ECF Nos. 3, 5. The DPS

Defendants were served on dates ranging from May 31, 2024, to June 6, 2024. DPS Defendants seek

an extension to file one omnibus responsive pleading to Plaintiffs’ Amended Complaint by July 3,

2024. No other DPS Defendants have been served as of the filing of this motion.

II.    MOTION FOR EXTENSION

       The current DPS Defendants request additional time, to July 3, to respond to Plaintiffs’ First

Amended Complaint. Undersigned counsel needs extra time due to the complexity and length of the
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Amended Complaint to properly brief and address all claims raised by Plaintiffs, and to accommodate

the existing demand the docket and deadlines under which undersigned counsel is currently operating,

to include deadlines in several other federal cases premised on the same facts that were filed

contemporaneously with this one. Further, by aligning the responsive pleading deadline for DPS

Defendants, the Court will avoid duplicative pleadings, streamline proceedings, and conserve judicial

resources.

       DPS Defendants do not seek this extension for purposes of delay, but so that justice may be

done, and the responsive pleading presented addresses all claims. As several parties have yet to be

served, this brief extension will not prejudice Plaintiffs or delay the case. Plaintiffs’ counsel has

indicated he is unopposed to this extension.

III.   CONCLUSION

       Defendants Richard Bogdanski, Joel Betancourt, Christopher Kindell, Crimson Elizondo,

Victor Escalon, and Juan Maldonado request to have until July 3 to respond to Plaintiffs’ Amended

Complaint.


                                                  KEN PAXTON
                                                  Attorney General of Texas

                                                  BRENT WEBSTER
                                                  First Assistant Attorney General

                                                  JAMES LLOYD
                                                  Deputy Attorney General for Civil Litigation

                                                  SHANNA E. MOLINARE
                                                  Assistant Attorney General
                                                  Chief, Law Enforcement Defense Division


                                                  /s/Briana M. Webb
                                                  BRIANA M. WEBB
                                                  Assistant Attorney General
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                                                  Austin, Texas 78711
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                                 CERTIFICATE OF SERVICE

        I, BRIANA M. WEBB, Assistant Attorney General of Texas, do hereby certify that a true and
correct copy of the above and foregoing has been served to all attorneys of record by the Electronic
Case Filing System of the Western District of Texas on June 21, 2024.

                                                  /s/ Briana M. Webb
                                                  BRIANA M. WEBB
                                                  Assistant Attorney General


                             CERTIFICATE OF CONFERENCE

        I, BRIANA M. WEBB, Assistant Attorney General of Texas, do hereby certify that on June 17,
2024, I conferred with Plaintiffs’ counsel, Robert Wilson, who stated he is unopposed to the request.

                                                  /s/ Briana M. Webb
                                                  BRIANA M. WEBB
                                                  Assistant Attorney General




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